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                                         March 24, 2022

IN RE:      PENISTON, et al v. MEDTRONIC, INC., ET AL
            DOCKET NO.: 3:18-13533-BRM-TJB

Dear Counsel:

      I have been contacted by Judge Brian R. Martinotti who presided over the above-
mentioned case.

        Judge Brian R. Martinotti informed me that it has been brought to his attention that
while he presided over this case he owned stock in Medtronic. His ownership of stock
neither affected nor impacted his decisions in this case. However, his stock ownership
would have required recusal under the Code of Conduct for United States Judges, and thus,
Judge Martinotti directed that I notify the parties of the conflict.

        Advisory Opinion 71, from the Judicial Conference Codes of Conduct Committee,
provides the following guidance for addressing disqualification that is not discovered
until after a judge has participated in a case:

             [A] judge should disclose to the parties the facts bearing on
             disqualification as soon as those facts are learned, even though
             that may occur after entry of the decision. The parties may
             then determine what relief they may seek and a court (without
             the disqualified judge) will decide the legal consequence, if
             any, arising from the participation of the disqualified judge in
             the entered decision.

      Although Advisory Opinion 71 contemplated disqualification after a Court of
Appeals oral argument, the Committee explained “[s]imilar considerations would apply
when a judgment was entered in a district court by a judge and it is later learned that the
judge was disqualified.”

      With Advisory Opinion 71 in mind, you are invited to respond to Judge
Martinotti’s disclosure of a conflict in this case. Should you wish to respond, please
submit your response on or before April 15, 2022. Any response will be considered by
another judge of this court without the participation of Judge Martinotti.

                                  Sincerely,


                                    s/   William T. Walsh
                                   William T. Walsh,
                                   Clerk of Court
